              Case 2:13-cr-00050-KJM Document 249 Filed 05/02/16 Page 1 of 2



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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               2:13-CR-00050-KJM
12                  Plaintiff,
                                                             FINAL ORDER OF FORFEITURE
13           v.
14   ZHIQIANG LIU, SHIHONG CHEN, and JUN
     MOU PENG,
15
                    Defendants.
16

17          WHEREAS, on or about February 3, 2016, this Court entered a Preliminary Order of

18 Forfeiture pursuant to the provisions of 21 U.S.C. § 853(a) based upon the plea agreements entered

19 into between plaintiff and defendants Zhiqiang Liu, Shihong Chen and Jun Mou Peng forfeiting to

20 the United States the following property:

21                  a.      Real property located at 8108 Gwerder Court, Elk Grove, California,
                            Sacramento County, APN: 116-1090-0087-0000.
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23          AND WHEREAS, beginning on February 4, 2016, for at least 30 consecutive days, the

24 United States published notice of the Court's Order of Forfeiture on the official internet government

25 forfeiture site www.forfeiture.gov. Said published notice advised all third parties of their right to

26 petition the Court within sixty (60) days from the first day of publication of the notice for a hearing

27 to adjudicate the validity of their alleged legal interest in the forfeited property.

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                                                                                           Final Order of Forfeiture
              Case 2:13-cr-00050-KJM Document 249 Filed 05/02/16 Page 2 of 2



 1          AND WHEREAS, the United States sent direct written notice by certified mail to the

 2 following individuals known to have an alleged interest in the above-described property: Liandi

 3 Wu.

 4          AND WHEREAS, no third party has filed a claim to the subject property and the time for

 5 any person or entity to file a claim has expired.

 6          Accordingly, it is hereby ORDERED and ADJUDGED:

 7          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America

 8 all right, title, and interest in the above-listed assets pursuant to 21 U.S.C. § 853(a), to be disposed of

 9 according to law, including all right, title, and interest of Zhiqiang Liu, Shihong Chen and Jun Mou

10 Peng.

11          2.      All right, title, and interest in the above-listed assets shall vest solely in the name of

12 the United States of America.

13          3.      The U.S. Marshal Service shall maintain custody of and control over the subject

14 property until it is disposed of according to law.

15          SO ORDERED this 2nd day of May, 2016.

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                                                          UNITED STATES DISTRICT JUDGE
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                                                                                           Final Order of Forfeiture
